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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE

 PARKER TIRRELL and IRIS TURMELLE,

      Plaintiffs,

      v.                                                 Case No. 1:24-cv-00251-LM-TSM

 FRANK EDELBLUT, in his official capacity as
 Commission of the New Hampshire Department
 of Education, et al.,

      Defendants.


       DEFENDANTS FRANK EDELBLUT, ANDREW CLINE, KATE CASSADY,
        ANN LANE, PHILIP NAZZARO, RAJESH NAIR, JAMES FRICCHIONE,
         AND JAMES LABOE’S OBJECTION TO PLAINTIFF’S MOTION FOR
                        A PRELIMINARY INJUNCTION

       NOW COME Defendants Frank Edelblut, Andrew Cline, Kate Cassady, Ann Lane,

Philip Nazzaro, Rajesh Nair, James Fricchione, and James Laboe (collectively, the “State

Defendants”), by and through counsel, the Office of the Attorney General, and submit this

Objection to Plaintiffs’ Motion for a Preliminary Injunction. For the reasons stated in State

Defendants’ attached Memorandum of Law, which is incorporated herein by reference, the

Motion for a Preliminary Injunction should be denied.

                                             Respectfully submitted,

                                             DEFENDANTS FRANK EDELBLUT, ANDREW
                                             CLINE, KATE CASSADY, ANN LANE, PHILIP
                                             NAZZARO, RAJESH NAIR, JAMES
                                             FRICCHIONE, and JAMES LABOE

                                             By their attorneys,

                                             JOHN M. FORMELLA
                                             ATTORNEY GENERAL
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       Date: August 24, 2024                  /s/ Michael P. DeGrandis
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on August 24, 2024, a copy of the foregoing was served on all parties
of record through the Court’s e-filing system.


                                              /s/ Michael P. DeGrandis
                                              Michael P. DeGrandis




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